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UNITED STATES DISTRICT COURT RT WS,
WESTERN DISTRICT OF WASHINGTON OePury

CV04-98395

Adrian L. Jackson, a member
Of a class of protected people

1000 Virginia Apt. #311 Complaint For Unlawful
Seattle, Washington 98101 Arrest & False Imprison-
(206) 240-6060 ment /Violations of Civil
Plaintiff, Rights Act of 1866 through
2000/Violations of 42 USC
Vs. section 1983 and Constit-
utional Rights Violations/
Thomas J. Burns, a Seattle among other things

Police Officer, 810 Virginia St.
Seattle Police Department
West precinct

Seattle, Washington 98101
(206) 684-5730

And

Randy Jokela, a Seatile

Police Officer, 810 Virginia St.
Seattle Police Department
West Precinct

Seattle, Washington 98101
(206) 684-5730

And

Ruben Gonzalez, a City of
seattle Police Detective,
600 5" Ave.

“Seattle, Washington 98104

 

 

 

 
 

Case 2:04-cv-00833-RSM Docume

(206) 684-5577

And

City of Seattic Police
Department Chief

Gil Kerlikowski

600 5" Ave.

Seattle, Washington 98104
(206) 684-5577

And

King County, Executive Dir.
Ron Simms,

900 King Country Administration
Bldg.

600 4" Ave, So.

Seattle, Washington 98104

(206) 296-0100

And

King County Juvenile

And Adult Detention Center
500 5™ Ave. So.

Seattle, Washington 98104
(206) 296-1234

And

Any other John or Jane Doc
Public Servant who may be
Responsible for the violations
Alleged herein

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Defendant's

 

 
 

 

 

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Comes now Plaintiff, Adrian L. Jackson, Pro se, and files this lawsuit

against the Defendant's individually, jointly and severally and allege the following:

i.

2.

Plaintiff Adrian L. Jackson is a resident of the city of Seattle, County of King and State of
Washington.

Officer Thomas J. Burns is a public servant employed to serve in the cily of Seattle Police
Department. At all times material he resides and does business at 810 Virginia St. West
Precinct, City of Seattle, County of King and State of Washington. He 1s being sued in
his official capacity and individual capacity for the violations of Plaintiff's Constitutional
and civil rights as contained and alleged herein below.

Officer Randy Jokela, is a public servant employed to serve in the city of Seattic Police
Department. At all times material he resides and does business at 810 Virginia St. West
Precinct, City of Seattle, County of King and State of Washington. He is being sucd in
his official capacity and individual capacity for the violations of Plaintiff's Constilutional
and civil rights as contained and alleged herein below.

Chief Gil Kerlikowski is a public servant hired to supervise, oversec, hire and train Police
Department Personne] on the laws of the land. As such he is charged with the duty to
censure that his personnel do not lend themsc[ves to committing unlawful acts for the
purpose of wrongful deprivations of citizen's rights. He is being sued herein in his
individual capacity and. his official capacity for the crimes alleged and contained hercin,
At all times material he resides and does business at 610 5" Ave, So., city of Seattle,
County of King and State of Washington.

King County Executive Director,Ron Simms, is a public servant employed to serve in the
city of Seattle, County of King and statc of Washington. He is being sued in official and
individual capacity for the violation of Plaintiff's Constitutional and Civil Right's as
cantained and alleged hercin below.

Detective Ruben Gonvalez is a public servant employed to serve in the city of Seattle
Police Department. At all times material ho resides and does business at 600 5™ Ave. So.
City of Seattle, County of King and state of Washington. He is being sued in his official
capacity and individual capacity for the crimes alleged and contained hcrein below.

This action is brought for damages and other appropriate relief under 42 USC 1983 for
violation of the Plaintiff's civil rights under color of state law, and violation under the qo
51 gt and 14!" Amendments of the Constitution of the United States of America.

7. Jurisdiction is conferred upon this court by 28US8C 1331 and 28 USC 1343 (4X3).
Venue of this action is proper under 28 USC 1391 (b).

On or about 3/1/04, Plaintiff was doing what the Jaw plainly allows, he was walking along
a public strect and talking on his cell phone when the Defendant’s, Thomas J. Burns and
Randy Jokela, scized first ihe person, then the property of Plaintiff. The Defendant’s
exccuted a full blown arrest placing Plaintiff in handcuffs. Once scizing Plaintiff and his
property without a warrant or incident to a lawful arrest, Defendant’s conduct violated
Plaintiff's Constitutional Rights.

 

 

 
 

 

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On or about 3/1/04 Defendant's falscly alleged and officially charged Plaintiff with a
violation of RCW 69.50, a gross misdemeanor. Along with the false charge the
Defendant’s seized over $540.00 from Plaintiff. The Defendant’s excersized ownership
control and gave Plaintiff's money to Detective Gonzalez.

On or about the same day, 3/1/04 Plaintiff was turned over to Detective Ruben Gonzalez.
Defendant Gonzalez propositioned Plaintiff. The proposition was that if Plaintiff will
work as a police informant he could eam his own money back. The Defendant assured
Plaintiff that he and Burns and Jokela would simply release him as Jong as Plaintiff went
after whomever Defendant’s targeted he would get back his money, then as he worked for
them further the Defendants would make the arrest and charge disappear. Plaintiff had no
choice but to agree, to secure his rclease from custody.

At a preliminary hearing on the aforementioned criminal charge, Plaintil!’ was discharged,
and no further criminal charges are pending against Plaintiff.

Plaintilf alleges that he was arrested without probable cause by Delendant’s who, under
the facts available, did not have an objective, good faith belicf that Plaintiff was guilty of
the offense charged. Plaintiff further alleges thal such arrest was in violation of his right
under the 4"" Amendment of the United States Constitution to be free trom unreasonable
arrest and his 14°" Amendment right of the United States Constitution to due process of
law. Plaintiff's arrest was made under color of 69.50 and under the color of the authonity
of Defendant's as Police Officers for the city of Seattle.

Plaintiff has suffered in the amount of $200.00 per hour for the entire 27 hours of
detention. Plaintiff further suffered a loss to his good reputation, loss consortium. Since
the incident occurred Plaintiff has not been able io travel freely and fears for the safety of
his friends and family.

WHEREFORE Plaintiff prays for the following relief:

1. An order of protection against, Thomas J. Burns, Randy Jokela and Ruben
Gonzalez.

2. Compensation for losses in ihe amount of $5,400.00 plus reasonable legal and
paralegal services fees of $1,500.00

3. Special damages in the amount of $1000,000.00 from each defendant, plus jointly
and severally for a total of $12,000,000.00 dollars.

4. An order requiring Plaintiff's name, address and criminal history, if any, to be
removed and returned to Plaintiff and all audio, video and all recorded media to be
destroyed, sealed or suppressed.

5, An ordet requiring all new policc to be taught Constitutional law course and make
themselves and their history known to the community in a public way.

6, Any other relicf the court deems just and proper.

 

 

 
 

 

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¥sé Civil Right
Complaint

1000 Virginia St. # 311
Scattle, Washington
98101
(206) 240-6060
